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 UNITED STATES DISTRICT COURT                                 EASTERN DISTRICT OF TEXAS


 UNITED STATES OF AMERICA                          §
                                                   §
 versus                                            §           CASE NO. 1:13-CR-69
                                                   §
                                                   §
 ANGELITA ALVAREZ DELGADO                          §

          ORDER ADOPTING UNITED STATES MAGISTRATE JUDGE’S REPORT

          After conducting a proceeding in the form and manner prescribed by Fed. R. Crim. P. 11,

 the Honorable Zack Hawthorn, United States Magistrate Judge, made and filed Findings of Fact

 and Recommendations regarding the Defendant’s plea of guilty to Count One of the First

 Superseding Indictment in the above-numbered case.           The Magistrate Judge accepted the

 Defendant’s guilty plea, recommends that the Defendant be adjudged guilty of the offenses to

 which she pleaded guilty, and recommends that the court conditionally accept the Defendant’s plea

 agreement pending review of the presentence report.

          The parties do not object to the Magistrate Judge’s findings and conclusions, and the court

 is of the opinion that they should be and are ADOPTED. Further, the court RATIFIES the

 Magistrate Judge’s acceptance of the guilty plea. Accordingly, it is ORDERED:

          1.     That the Defendant is adjudged GUILTY of the offense alleged in Count 1 of the
                 First Superseding Indictment, in violation of 18 U.S.C. § 1791(a)(1); and

          2.
          .     The court conditionally accepts the Defendant’s plea agreement pending review of
          SIGNEDtheatpresentence
                      Beaumont, Texas,
                                 report. this 7th day of September, 2004.

          SIGNED at Beaumont, Texas, this 8th day of January, 2014.




                                            ________________________________________
                                                        MARCIA A. CRONE
                                                 UNITED STATES DISTRICT JUDGE
